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STATE OF ILLINOIS )}
} ss:
COUNTY OF COOK )

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - CRIMINAL DIVISION

THE PEOPLE OF THE STATE
OF ILLINOIS,

Plaintife£,

No. 07 CR 02341-0121
No. 08 CR 10502-01

VES.

ANNABEL MELONGO,

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Defendant.

REPORT OF PROCEEDINGS had at the hearing of
the above-entitled cause, before the Honorable JAMES M.
SCHREIER, Judge of said court, on Wednesday, the 18th
day of June, 2008, at the hour of approximately
11:00 o'clock a.m.

PRESENT:

HON. RICHARD A. DEVINE,

State's Attorney of Cock County,

BY: MR. PAUL J. CHEVLIN,

Assistant State's Attorney,

On behalf of the People;

MR. JAMES J, FLOOD,
On behalf of the Defendant.

Laurel E. Laudien, RMR, RPR, CSR #084-001871

Official Court Reporter - Circuit Court of Cook County
County Department - Criminal Division

(773} 869-6065

 

 

 

 
 

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THE CLERK: Annabel Melongo, Sheets 2 and 9.
(SHORT PAUSE. )

MR. FLOOD: Good morning, your Honor.

James Flood, F-L-0-0-D, on behalf of
Miss Melongo, your Honor.

This morning I understand they reindicted my
client and the new complaint is before you for
arraignment.

THE COURT: Is this Golden?

MR. CHEVLIN: Judge, this is Podlasek. He knows
about the case. We agreed on a date.

We did have something come in the mail on the
case. It was a Grand Jury transcript. Mr. Podlasek
has both copies. I'm sure he would be mailing it to
Counsel.

MR. FLOOD: We've got it.

THE COURT: The reindictment alleges in 08 - 16502
with computer tampering in Count I, Count II, Count
III, tender a copy of the charges to Counsel.

Acknowledge receipt, waive formal reading,
enter plea of not guilty?

MR. FLOOD: There would be a plea of not guilty.

THE COURT: You are in touch with the State's

Attorney on the case?

 

 

 

 
 

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MR. FLOOD: Tt am, Judge.

THE COURT: Pick any date.

MR. FLOOD: The 16th of July is what we picked.

THE COURT: By agreement, July 16th, '08.

Now, the '07 case, so we won't be carrying
extra baggage, on what sheet?

THE CLERK: Sheet 2.

THE COURT: 2, this is a reindictment of the game
facts?

MR. FLOOD: Yeah, my understanding, they were
going to nolle that.

MR. CHEVLIN: I don't know, Judge.

THE COURT: I'm pretty sure it is. If it isn't, I
think they notified us last court date that they were
going to reindict.

MR. FLOOD: Correct.

THE COURT: There was some alleged deficiencies in
the first indictment that Counsel talks about, '07
nolle pros case, superseded by 08-10502.

Did she have a cash bond on that, or what
kind of bond was she out on?

THE DEFENDANT: I-bond.

THE COURT: An I-bond.

Bond transferred to 0908-10502.

 

 

 

 
 

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Okay. The discovery and all motions will be
transferred to the '08 case.
MR. FLOOD: Thank you, Judge.
I will have to reconsider the discovery based
on the new charges.
THE COURT: Right.
Motions to dismiss will be -- will remain in
the '07 case, since now the State has reindicted.
Motion to produce, your appearance, second
motion to produce, that will all be transferred to the
new '08 case.
MR. FLOOD: Thank you.
THE COURT: Motion for additional discovery.
Okay. duly 16th.
MR. FLOOD: See you then, Judge.
THE COURT: Thank you.
(WHEREUPON, THE PROCEEDINGS WERE
ADJOURNED TO BE RECONVENED ON JULY 16,

2008, AT 10:00 O'CLOCK A.M.)

 

 

 

 

 
